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 5
                             UNITED STATES DISTRICT COURT
 6                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,                            NO. CR09-81-MJP

 9                                 Plaintiff,

10          v.                                            SUMMARY REPORT OF
                                                          U.S. MAGISTRATE JUDGE AS
11
     MELODIE ANN ANCHETA                                  TO ALLEGED VIOLATIONS
12                                                        OF SUPERVISED RELEASE
                                   Defendant.
13

14          An initial hearing on a petition for violation of supervised release was held before the

15   undersigned Magistrate Judge on May 3, 2012. The United States was represented by

16   Assistant United States Attorney Ye-Ting Woo, and the defendant by Christopher Black.

17          The defendant had been charged with two counts of Assault Resulting in Serious

18   Bodily Injury in violation of 18 U.S.C. §§ 2, 113(a)(6), 1115(a) and 1153. On or about

19   December 4, 2009, defendant was sentenced by the Honorable Marsha J. Pechman to a term of

20   37 months in custody, to be followed by 3 years of supervised release.

21          The conditions of supervised release included the requirements that the defendant

22   comply with all local, state, and federal laws, and with the standard conditions. Special

23   conditions imposed included, but were not limited to, participation in substance abuse and

24   mental health programs, financial disclosure, search, participation in Moral Reconation

25   Therapy Program, and no contact with the victim or witness, Angie Moses.

26


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 1
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 1          In a Petition for Warrant or Summons dated March 21, 2012, U.S. Probation Officer

 2   Angela M. McGlynn asserted the following violation by defendant of the conditions of her

 3   supervised release:

 4          1.      Using cocaine on or before February 22, 2012, in violation of standard
                    condition No. 7.
 5
            The defendant was advised of her rights, acknowledged those rights, and admitted to
 6
     violation 1.
 7
            I therefore recommend that the Court find the defendant to have violated the terms and
 8
     conditions of her supervised release as to violation 1, and that the Court conduct a hearing
 9
     limited to disposition. A disposition hearing on this violation has been set before the
10
     Honorable Marsha J. Pechman on May 17, 2012 at 3:00 p.m. After this hearing, defendant was
11
     remanded into custody pending a detention hearing scheduled for the next day.
12
            On May 4, 2012 a detention hearing was held before the undersigned Magistrate Judge.
13
     Pending a final determination by the Court, the defendant has been released, subject to
14
     supervision and additional bond conditions.
15
            DATED this 4th day of May, 2012.
16

17

18
                                                   A
                                                   JAMES P. DONOHUE
                                                   United States Magistrate Judge
19

20
     cc:    District Judge:                Honorable Marsha J. Pechman
21          AUSA:                          Ye-Ting Woo
            Defendant’s attorney:          Christopher Black
22          Probation officer:             Angela McGlynn
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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 2
